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               Case 4:20-cv-00255-DGK Document 1-1 Filed 03/31/20 Page 5 of 15
               IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judg eorD iv ision:                                                      Case Number: 2016-CV03801
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 JO D Y* M UM M EL TH I E                                                 JO H N G O 'C O N N ER
                                                                          RO B B , TA YL O R& O 'C O N N O R
                                                                          8 27 A RM STRO N G A VEN UE
                                                                    vs.   K A N SA S C I TY, K S 6 6 101-26 04
 D efenda nt /Respondent  :                                               C ourtA ddress:
 W A L M A RT, I N C .                                                    308 W K ansa s
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                                                                    Summons in Civil Case
      The State of Missouri to: WALMART, INC.
                                         Alias:
  SERVE: CT CORP. SYSTEMS
  120 S. CENTRAL AVE.
  CLAYTON, MO 63105

         COURT SEAL OF                           You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                           which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                           above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                           file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
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                          Case 4:20-cv-00255-DGK Document 1-1 Filed 03/31/20 Page 6 of 15
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             Case 4:20-cv-00255-DGK Document 1-1 Filed 03/31/20 Page 7 of 15
Revised 7/3/13              Service Information - Attorney
              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT INDEPENDENCE

JODY * MUMMELTHIE,

                         PLAINTIFF(S),                                      CASE NO. 2016-CV03801
VS.                                                                         DIVISION 2

WALMART, INC.,

                         DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
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         Case 4:20-cv-00255-DGK Document 1-1 Filed 03/31/20 Page 8 of 15
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